                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

      v.                                            Case No. 11-CR-112

DANIEL CISLER
                   Defendant.


                                SCHEDULING ORDER

      IT IS ORDERED that the government file a response to defendant’s motion for return

of property on or before September 17, 2013.

      Dated at Milwaukee, Wisconsin, this 4th day of September, 2013.

                                      /s Lynn Adelman
                                      ______________________________
                                      LYNN ADELMAN
                                      District Judge




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